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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

LUFTU MURAT UCKARDESLER,
GLOBAL AGENCY, LTD.

Plaintiffs,
v.
KAZA AZTECA AMERICA, INC., DBA
AZTECA AMERICA, PROMOFILMS US
LLC, AND DOES 1 THROUGH 10,

Defendants.

 

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CASE NO. CV 09-01467 JFW (MANX)

Assigned to the Honorable
John F. Walter

DEFENDANT PROMOFILM US, LLC’S
NOTICE OF MOTION AND MOTION FOR
SUMMARY JUDGMENT ON FIRST AND
SECOND CLAIMS FOR RELIEF OR, IN
THE ALTERNATIVE FOR SUMMARY
ADJUDICATION OF ISSUES [F.R.CiV.P.

56(b), (d)]]

[Mernorandurn of Points and Authorities
Attached Hereto, Statement of Uncontroverted
Facts and Conclusions of Law, Supporting
Declarations, Deposition Excerpts, and
[Proposed] Statement of Decision filed
concurrently herewith]

Date: April 26, 2010
Tirne: 1:30 p.rn.
Courtroom: 16

Trial Date: June 8, 2010
Pre-Trial Conf. Date:
May 21, 2010

TO THE INTERESTED PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:

PLEASE TAKE NOTICE that on April 26, 2010 at 1230 p.rn., or as soon thereafter as

counsel may be heard, in Courtroorn 16 of the Honorable John F. Walter, United States District

Judge of the above-entitled Court, located at 312 North Spring Street, Los Angeles, California,

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PROMOFILM ‘S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT

 

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defendant Promofilm US, LLC (“Promofilm”) will bring on for hearing its motion, pursuant to
F.R.Civ.P 56(b), for entry of summary judgment on Plaintiffs’ First Claim for Relief (Copyright
Infringement) and Second Claim for Relief (Contributory Copyright Infringement), the sole
claims alleged against Promofilm.

This motion is made on the grounds that the uncontroverted facts establish that (1)
Plaintiff Global Agency Ltd. is not the owner of the copyrights at issue in this action and
therefore lacks standing to Sue for copyright infringement; and (2) these claims do not present
genuine issue of fact for trial on the claims that defendant Promofilm directly and contributorily
infringed the copyrighted writings at issue in this action. Grant of the motion will resolve all
claims asserted by plaintiffs against defendant Promofilm and there is no just reason to delay
entry of final judgment in the Within action favor of defendant Promofilm.

PLEASE TAKE FURTHER NOTICE that at said time and place, defendant Promofilm
will move the Court, in the alternative, for summary adjudication that the following issues
present no genuine issue of fact for trial: (1)that Plaintiff Global Agency Ltd. is not the owner of
the copyrights at issue in this action and therefore lacks standing to sue for copyright
infringement; (2) that the First Claim for Relief presents no genuine issue material of fact for trial
on the claim that defendant Promofilm is liable for copyright infringement; and (3) that the
Second Claim for relief presents no genuine issue of fact for trial on the claim that defendant
Promofilm is liable for contributory copyright infringement

This motion is filed following a conference of counsel pursuant to local Rule 7-3 which
took place, by telephone, on March 17, 2010 and which failed to resolve the matters at issue on
this motion.

This motion is based on this Notice of Motion and Motion, the attached Memorandum of
Points and Authorities, the Statement of Uncontroverted Facts and Conclusions of law and
Declarations of Thomas Doniger, Pelin Akat, Martin Halac, Aviva Bergrnan and Ellen Seiter,
and the exhibits thereto, and the EXcerpts from the Depositions of Luftu Murat Uckardesler and
Izzet Ressam filed concurrently herewith, upon all of the records and papers on file in this action

and upon such other and further argument and evidence as may be presented to the Court at, or in

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PROMOFILM ‘S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT

 

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connection, with the hearing on this motion.

Dated; March § 2010 DONIGER & FETTER

.Henry D. Fetter, rAttorneys for
Defendant Promofilm US LLC

 

 

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PROMOFILM ‘S NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT

 

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UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

LUFTU MURAT UCKARDESLER,
GLOBAL AGENCY, LTD.

Plaintiffs,
v.
KAZA AZTECA AMERICA, INC., DBA
AZTECA AMERICA, PROMOFILMS US
LLC, AND DOES 1 THROUGH 10,

Defendants.

 

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CASE NO. CV 09-01467 JFW (MANX)

Assigned to the Honorable
John F. Walter

DEFENDANT PROMOFILM US, LLC’S
MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT
ETC; Declarations of Thomas Doniger,
Pelin Akat, Ellen Seiter, Martin Halac and
Aviva Bergman, Statement of
Uncontroverted Facts and Conclusions of
Law, [Proposed] Statement of Decision and
Excerpts of Depositions, Filed
Concurrently Herewith [F.R.Civ.P.
56(b)(d)]

Date: April 26, 2010
Time'. 1130 p.m.
Courtroom: 16

Trial Date: June 8, 2010
Pre-Trial Conf. Date:
May 21, 2010

 

PROMOFILM’S MEMO OF Ps&As IN SUPPORT OF MOT. FOR SUMMARY IUDGMENT

 

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1 I.
2 INTRODUCTORY STATEMENT
3 This case presents another example of a plaintiff seeking to capitalize on “the current rage
4 for so-called ‘reality’ programming” by inserting an unprotectable element into a stock reality
5 television format and claiming protection for his work under The Copyright Act. Milano v. NBC
6 Universal Inc., 584 F.Supp. 2d. 1288, 1295 (C.D. Cal, 2008).
7 Plaintiffs Luftu Murat Uckardesler (“Uckardesler”) and Global Agency, Ltd. (“Global”)
8 allege (First Claim for Relief) that defendant Promofilm US, LLC (“Promofilm”) infringed
9 plaintiffs’ copyrights in a format for a reality dating/marriage television series by producing a
10 Spanish language television program entitled “Suegras” (in English, “Mothers-in-Law”). By
11 licensing Suegras for broadcast in the United States by defendant Azteca International
12 Corporation (“Azteca”), plaintiffs allege that Promofilm also became liable for contributory
13 copyright infringement (Second Claim for Relief).1
14 No published case has yet provided copyright protection for a television format ~ less a
15 reality television format which slavishly conforms to the genre’s stock conventions, as here.
16 Television formats do not satisfy the extrinsic test of objective similarity of expression,
17 applicable on motion for summary judgment, which requires proof of substantial similarity of
18 plot, theme, dialogue, mood, setting, pace, characters and sequence of events. To a greater extent
19 in reality television formats, the protectable elements necessary to satisfy the extrinsic test for
20 similarity of expression are either absent, generic, scenes a faire or exist only at the level of
21 unprotectable ideas. This case presents no exception to prior case law because plaintiffs have
22 done nothing more than insert one unoriginal idea, the participation of mothers-in-law, into a pre-
23 existing stock, marriage/dating themed, elimination reality format.
24 Plaintiffs assert their claim notwithstanding the fact that the core ideas (ideas are, of
25 Course, unprotectable in any event) of the works at issue are radically different. The idea
26 underlying plaintiffs’ format is that a mother in law, in accordance with a “Turkish cultural
27
28 _1The First and Se_cond Claims for Relief are the only c_laims alleged against Promofilm.
The Thlrd, Fourth and Flfth Clalms for Rellef are alleged agamst Azteca only.
1
PROMOFILM’S MEMO OF PS&As lN SUPPORT OF MOT. FOR SUMMARY JUDGMENT

 

 

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1 process,” chooses a bride for her son. In Suegras, by contrast, the viewing audience votes for a

2 couple to be wed. [Sep. St. No. 1]
3 Assuming plaintiffs’ idea were original and that Promofilm copied that original idea,
4 there could be no liability for infringement;
5 “[o]riginal and creative ideas, however, are not copyrightable, because 17 U.S.C. §
6 102(b) provides that ‘in no case does copyright protection for an original work of
7 authorship extend to any idea, procedure, process, system, method of operation,
8 concept, principle, or discovery, regardless of [its] form.’ Section 102(b) codifies
9 the common-law principle that 'unlike a patent, a copyright gives no exclusive
10 right to the art disclosed; protection is given only to the expression of the idea -
11 not the idea itself.”’ Mazer v. Stein, 347 U.S. 201, 217, 98 L. Ed. 630, 74 S. Ct.
12 460 ( 1954)
13 Finally, even if plaintiffs’ work contained protectable elements, which it does not,

14 summary judgment should be granted because there is no “substantial similarity,” under the
15 applicable extrinsic test, between Suegras and plaintiffs’ work. They are different programs
16 which share a few stock conventions of the reality, marriage/dating themed elimination genre, as

17 do all other programs in the genre.

 

18 II.

19 STATEMENT OF FACTS

20 A. The Parties.

21 Uckardesler is a citizen of Turkey. Global, a United Kingdom based company, alleges

22 that it is the "exclusive agent for licensing Plaintiff Uckardesller's format" pursuant to the terms
23 of a written Representation Contract with Uckardesler executed in November 2006. Izzet

24 Ressam is the managing director of Global. [Sep. St. No. 2, 4]

25 Promofilm is a producer of Spanish language television programming with its principal
26 place of business in Florida. Azteca is a Spanish language broadcast network. [Sep. St. No.

27 14,15]

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PROMOFILM’S MEMO OF Ps&As lN SUPPORT OF MOT. FOR SUMMARY JUDGMENT

 

 

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B. Nature of the Allegedlv Infringed Works.

Uckardesler claims to have created a 21/2 page television format, in the Turkish language,
and that he “copyrighted the format in Turkey on or about July 20, 2004". The format consists of l
2 1/2 pages: 1 1/2 pages consist of “rules” and alternative titles and the remaining one page states
the “goal” and “flow” of the program. [Sep. St. No. 1] Plaintiffs also allege that the 21/2 page
format was licensed for production of a reality televison program, “Gelinim Olur Musun” (in
English, “Will ,You be my Bride/Daughter-in-Law?”), in Turkey that was broadcast in that
country between September and December 2004. [Sep. St. No. 2]

Uckardesler also claims to have written a seventy page production bible entitled the
"Perfect Bride Proj ect" (the “Bible”) that was allegedly created in 2004 but not registered in the
United States Copyright Office until January 2008, almost one year after broadcast of Suegras.
The Bible is a promotional and production manual with instructions for promoting and producing
a program based on the concept briefly described in the format. [Sep. St. No. 1, 3]

Both the format and the Bible have minimal, even potentially protectable, expressive
content. The 2 1/2 page format presents only an admittedly “conceptual” premise for a reality

television program. See, Milano v. NBC Universal Inc., 584 F. Supp. 2d 1288, 1295 (C.D. Cal.

 

2008). The Bible consists almost entirely of promotional and advertising ideas, pre-production
and production methods, and rules and procedures for the elimination contest. [Sep. St. No. 1, 3]

Except where otherwise indicated, the format and Bible will be referred to collectively
herein as the “Format.”

C. The Series of Marriage-themed Programs Which Preceded Plaintiffs’ Format.

Sinevizyon Medya Tantum ve Filmicik Programmlari Ya. Tic. A.S. (“Sinevizyon”), a
Turkish production company, produced a series of eight marriage themed, elimination reality
shows which were first broadcast in Turkey on September 26, 2003. Production and broadcast of
the first four of these series (the “Predecessor Programs”) predate Uckardesler’s alleged creation
of the Format in July 2004. The Predecessor Programs, together with their air dates on Show TV

in Turkey, are listed below:

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PROMOFILM’S MEMO OF Ps&As IN SUPPORT OF MOT. FOR SUMMARY JUDGMENT

 

 

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a. Ben Evleniuyorum (“1 Am Getting Married”)'. September 26, 2003-December l,
2003; `

b. Biz Evleniyoruz (“We Are Getting Married”): December 13, 2003-February 27,
2004;

c. Sevda Masali (“Love Story”): February 28, 2004-May 10, 2004; and

d. Kalplerde lkinci Bahar (“The Second Spring” [Love ata Later Age]): May 8, 2004-
July 9, 2004. [Sep. St. No. 5]

Each of these series was produced and broadcast prior to creation of the Format and
broadcast of the show known as “Gelinim Olur Musun,” (in English, “Will You Be My Bride
/Daughter-ln-Law?”) which aired on Show TV from September 18, 2004 to December 17, 2004 as
the fifth series of marriage themed elimination shows, and which Uckardesler claims was based on
his Format. [Sep. St. No. 6] Pelin Akat was the executive producer of all eight series, including
“Gelinim Olur Musun”, which was produced by Sinevizyon under contract with AKS Televizyon
Reklamcilik ve Filmcilik Sanayi Tic. A.S. (“AKS”). [Sep. St. No. 7]

Each of the Predecessor Programs, as well as “Gelinim Olur Musun,” was a reality genre,
marriage/ dating themed elimination program - each was unscripted and the participants were not
actors. Accordingly, there was no plot, dialogue or characters in the sense that dramatic works
contain such elements. The participants were real people, selected by the producers, and they were
unscripted, speaking what came to their minds. Even the producers could not predict the “plot” in
the sense that the plot was determined by the participants and the viewers and not planned in
advance, by writers or producers. [Sep. St. No. 8]

As the Predecessor Programs show, almost all of the elements of the Format were already
in place before Uckardesler claims to have created the Format. These include the following
elements: (a) each of the shows was an “elimination program” in the sense that both bride
candidates and groom candidates were eliminated to produce a “winner,” as the show progressed;
(b) elimination of bride and groom candidates was accomplished through both audience
“televoting” (including text voting by the viewers) and the choices of the bride and groom

candidates; (c) both the bride and groom candidates were isolated from society and lived in

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PROMOFILM’S MEMO OF PS&AS IN SUPPORT OF MOT. FOR SUMMARY JUDGMENT

 

 

Case 2:

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Separate houses; (d) the show participants were video “monitored” such that the audience views
the participants and the men and women have the opportunity to observe each other; (e) the
eliminations are announced during dramatic “decision” ceremonial proceedings; (f) candidates can
receive “protection” from elimination under certain circumstances', (g) if all goes well, the show,
which may last 8 to 13 weeks, ends with a proposal and marriage between two of the participants;
(h) the communications between the men and women candidates are controlled for dramatic
purposes such that they may not communicate except as provided for by the producers; (i) the
host participates in each show, conducting interviews with the candidates, eliciting confessions,
provoking controversy and reading comments from viewers; (i) various celebrity and non-celebrity
“visitors” may visit the candidates from time to time, and some introduce activities to the
candidates, for example massage, sports, dancing, exercise, etc.; (k) if a wedding is to occur, the
wedding preparations receive prominence; (1) the candidates carry out the daily chores of
communal life within their houses; (m) all of the participants were non-celebrities; (n) the
participants engaged in many different activities; and (o) the participants were selected by the
producers to present certain dramatic “types” and to create conflict - for example “shy, innocent
gir ”, “the sexy, experienced man-eater”, “the strong macho male”, “the sensitive emotional male”,
etc. While many of the elements of these shows remained constant, as required by the genre itself,
other elements were varied from series to series. [Sep. St. No. 9]

Uckardesler was aware of the Predecessor Programs that Sinevizyon had produced in
Turkey. [Sep. St. No. 10] His 2 1/2 page Format for a reality television dating/marriage program
expressly acknowledges that it is intended to add an element to the Sinevizyon shows by “putting
in mother of groom candidates at exactly in the middle of marriage programs realized by
participants of bride and groom candidates til now...” [Emphasis added] [Sep. St. No. ll].

D. Promofilm’s Acguisition of a Format License from Sinevizyon and the Production

and Broadcast of ‘Suegras” in the United States.
There is no evidence that Promofilm had access to either the Format or the Bible. [Sep.
St. No. 12] Promofilm acquired the right to produce a reality television series “based, in whole

or in part” on a format known as “May l Call You Mom” from Sinevizyon under the terms of a

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PROMOFILM’S MEMO OF PS&AS IN SUPPORT OF MOT. FOR SUMMARY JUDGMENT

 

Case 2:

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Format License Agreement, dated as of October 15, 2006, [Sep. St. No. 13] Under the terms of a
Program License Agreement between Promofilm and Azteca , dated as of November 6, 2006,
Promofilm was engaged to produce, for broadcast by Azteca, a reality, marriage-themed program
in which mothers of the groom candidates participated [Sep. St. No. 14] Pursuant to those
agreements, Promofilm produced “Suegras”, which was broadcast by Azteca in the United States
Spanish language televison market in 60 episodes over ten weeks beginning in March, 2007.

[Sep. St. No. 15]

For purposes of comparing the Format to Suegras, the head writer and director of Suegras
have compiled the 32 page Suegras Summary (Exhibit 13 to the Declaration of Martin Halac),
which describes the show as broadcast. DVDs of Suegras episodes are also being lodged with the
Court. [Sep. St. No. 15]

Unlike the Format, Suegras involved predetermined storylines with an emphasis on sexual
relationships between attractive young characters similar to the telenovelas (soap operas) that have
historically dominated Spanish-language television. [Sep. St. No. 16] Of particular importance is
that the role and prominence of the mother-in-law idea are different in Suegras than in the Format.
The Format centers on the figure of the domineering mother; Suegras does not. The mothers in
the Format are the most important cast members. By contrast, the mothers are secondary cast
members in Suegras, playing subordinate roles compared to the sexy young female contestants.
The majority of screen time in Suegras is devoted to the young men and women, often in romantic
Situations away from the house. The decision-making role of the mothers in law is far less
important in Suegras than it is in plaintiff’ s Format - perhaps attributable to the uniqueness of the
“Turkish cultural process” that the Format intends to depict.

In particular, in Suegras “in the 10th week, The Final Week, the viewers will vote to
choose the couple that has won the competition and the prize.” Suegras Summary at 12, [Sep. St.
No. 17] In the Format, it is the mother-in-law who selects the bride for her son. Bible at 60, [

Sep. St. No. 18]

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PROMOFILM’S MEMO OF Ps&As lN SUPPORT OF MOT. FOR SUMMARY IUDGMENT

 

 

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III.
SUMMARY JUDGMENT STANDARD
Summary judgment is proper where “the pleadings, depositions, answers to interrogatories,

and admissions on file, together with the affidavits, if any, show that there is no genuine issue as
to any material fact and that the moving party is entitled to a judgment as a matter of law.” F. R.
Civ. P. 56(C). On a motion for summary judgment, this Court must decide whether there exist
“any genuine factual issues that properly can be resolved only by a finder of fact because they may
reasonably be resolved in favor either party.” Anderson v. Libertv lobbv, Inc., 477 U.S. 242, 250
(1986).

IV

LEGAL ARGUMENT

A. Summary Judgment Should Be Entered Against Global On The Copyright Claims
Because Global Lacks Standing to Sue for Copyright Infringement.

Section 501(b) of the Copyright Act “establishes who is legally entitled to sue for
infringement of copyright”. Silvers v. Sony Pictures Entertainment, 402 F.3d 881, 885 (9th Cir.,
2005). That statute expressly provides, in pertinent part, that only “the legal or beneficial M
of an exclusive right under a copyright is entitled...to institute an action for infringement of that
particular right committed while he or she is the owner of it.” 17 USC §501(b) (Emphasis added).
[Sep. St. No. 19]

Both the allegations of the complaint, and the uncontroverted evidence, prove that Global
is not an owner with standing to sue for the infringement alleged. The complaint alleges only that
Global “is the exclusive agent for licensing Plaintiff Uckardesler’s Bride format,” and does not
allege that Global holds any ownership interest in the alleged copyrights sued on. The parties’
“Representation Contract,” attached as Exhibit 3 to the complaint, does n_ot grant any ownership
interest in those copyrights to Global. The Representation Contract expressly identifies
Uckardesler as the “Format Owner,” and expressly provides that “the parties have agreed that the
label and format rights of the Format belongs to the Format Owner Murat Uckardesler.” Global

was engaged to “ to make presentations, sales meetings and collection of the sales payments.”

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[Sep. St. No. 20] The Representation Contract provides that “the right to sign contracts with the
third parties exclusively belongs to the Format Owner,” and that, if Global “acts in excess of his
power and signs contracts with third parties, these contracts do not bind the Format Owner and
they do not cause them to be responsible for those contracts.” [Sep. St. No. 20]

The deposition testimony of both Uckardesler and Global’s managing director, Izzet
Ressam, confirmed that the “Representation Contract” sets forth their entire agreement with
respect to the Format at issue. [Sep. St. No. 21] “A licensing agent is neither the legal or
beneficial owner of the copyright and has no interest in the copyright.” Bourne Co. v. Hunter

Countrv Club, Inc., 990 F. 2d 934, 937 (7th Cir., 1993) [Sep. St. No. 22] The allegations of the

 

complaint, and the terms of the Representation Contract, establish that Global was only a sales or
licensing agent and held no ownership interest in the copyrights that remained vested in
Uckardesler. Accordingly, Global lacks standing to sue for copyright infringement under the
express terms of the Copyright Act. Global’s claims are subject to summary judgment

B. The ldeas and “Cultural Process” in the Format Are Not “Protectable”.

Preliminarily, it is, of course, true that “ ideas generally do not receive protection, only the
expression of such ideas do. [citation].” Rice v. Fox Broadcasting Comoanv, 330 F.3d. 1170,
1174 (9th Cir. 2003). As appears to be the rule in reality television format litigation, this case
presents yet another example of a plaintiff seeking copyright protection for a work that “is largely
conceptual and describes what is essentially an idea which is not protected under copyright.”

Milano v. NBC Universal. Inc., 584 F. Supp. 2d at 1295. That idea is plaintiffs’ inclusion in a

 

stock, reality, dating/marriage elimination show a decision-making role for prospective mothers-
in-law. Plaintiffs’ idea is not protectable as a matter of law. 17 USC § 102(b).

Further undermining any claim for protection of this “idea” is plaintiffs’ admission that his
idea incorporates into the Format “the Turkish cultural process by which mothers choose brides
for their sons.” [Sep. St. No. 25] There can be no copyright protection for such a “cultural
process,” Turkish or otherwise. A “cultural process” is a U, and cannot be “original” with the
“author.” Copyright law does not protect facts. Attia v. Societv of the New York Hospital, 201 F.

3d 50, 54 (2d. Cir., 1999). “No matter how much original authorship the work displays the facts

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and ideas it expresses are free for the taking....” Feist Publications v. Rural Teler)hone Serv. Co.,
499 US 340,349, 111 S. Ct. 1282 (1991).

Plaintiffs cannot monopolize the right to depict this “Turkish cultural process” any more
than the creator of the realistic turtle pin in Rosenthal Jewelry Corp. v. Kalpakian, 446 F. 2d 738,
741 (9"‘ Cir., 1971) could monopolize the right to realistically depict a turtle in a jewelry pin. Such
depictions of reality “are the common heritage of mankind, and no artist may use copyright law to
prevent others from depicting them.” M. Thus, plaintiffs primary claim to having created
protectable subject matter by inserting a mother/ son “cultural process” into a reality television
format is not protectable at all and does not even trigger analysis under the extrinsic test at all.

C. Plaintiffs’ Infrin ement Claim Does Not Satis The Extrinsic Test A licable On

1. The Extrinsic Test Requires a Comparison Between The Protectable Elements Onlv

of the Works in Question.

In a copyright infringement action, the essential element of actual copying “‘may be
established by showing that the works in question are substantially similar in their protected
elements’ and that the infringing party ‘had access’ to the copyrighted work [citation].” w

Fox Broadcasting Comr)anv, 330 F.3d.1170, 1174 (9th Cir. 2003). On this motion, even if the

 

Court determines that plaintiff’ s unprotectable “idea” Warrants further analysis under the extrinsic
test, there is no genuine issue of material fact as to “substantial similarity” once that test is applied.
As stated in Rice v. Fox Broadcasting Comoanv, 330 F. 3d at 1174:
To determine whether two works are substantially similar, a two-part analysis 4 an
extrinsic test and an intrinsic test - is applied. Id. at 1073. "For summary judgment, only
the extrinsic test is important." Kouf v. Walt Disnev Pictures & Television, 16 F.3d 1042,
1045 (9th Cir.1994). "[A] plaintiff who cannot satisfy the extrinsic test necessarily loses on
summary judgment, because a jury may not find substantial similarity without evidence on
both the extrinsic and intrinsic tests." Id.

As we have previously stated, the extrinsic test is an objective measure of the

"articulable similarities between the plot, themes, dialogue, mood, setting, pace,

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characters. and sequence of events." Id. (citation and internal quotation marks omitted). ln

applying the extrinsic test, we must distinguish between the protectable and unprotectable

material because a party claiming infringement may place "no reliance upon any similarity
in expression resulting from unprotectable elements." Apole Computer. lnc. v. Microsoft

Q)LIL, 35 F.3d 1435, 1446 (9th Cir.1994) (citation and internal quotation marks

omitted).” [emphasis added]. [Sep. St. No. 23]

Furthermore, in applying the extrinsic test, the Court “compares, not the basic plot ideas
for stories but the actual concrete elements” in the works in question. Funky Films, Inc. V. Time
Wamer Entertainment Company, L.P., 462 F.3d 1072, 1077 (9th Cir. 2006). [ Sep. St. No. 24]
The Copyright Act, 17 U.S.C. §102(b) provides that “[i]n no case does copyright protection for an
original work of authorship extend to any idea, procedure, process, system, method of operation...,
regardless of the form in which it is described, explained, illustrated or embodied in such work.”

Further, under the doctrine of “scenes a faire,” “[e]xpressions that are standard, stock, or
common to a particular subject matter or medium are not protectable under copyright law.[n3]
See v. Durang, 711 F.2d 141, 143 (9th Cir. 1983).” Satava v. Lowry, 323 F.3d 805, 810 (9th
Cir.2003). As a result, “courts will not protect a copyrighted work from infringement if the
expression embodied in the work necessarily flows from a commonplace idea ..... the rationale is
that there should be no monopoly on the underlying unprotectable idea. (Citation)” ETS-Hokin
v._Sl_<w, 225 F3d 1068,1082 (9th Cir., 2000). Here, the elements of the Format which plaintiffs
claim are protectable constitute stock, scenes a faire of the reality genre. [Sep. St. No. 26]

The uncontroverted evidence establishes here that the allegedly protectable elements upon
which plaintiffs base their claims are m)t protectable because they are variously: (1) unprotectable
ideas; (2) stock elements of the Predecessor Programs, not original and, therefore, not protectable;
(3) scenes a faire or stock and standard elements of the reality genre; and (4) elements not present
in Suegras at all. Accordingly, application of the extrinsic test, as detailed below, establishes that

plaintiffs’ copyright infringement claim does not raise any genuine issue of material fact for trial.

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In applying the extrinsic test for substantial similarity, the ideas, facts and scenes a faire
for which plaintiffs claim protection may not be considered as protectable expression to compare

to any similar elements in Suegras.

2. Plaintiffs’ Admissions in Discovery lndisputably Prove That Elements Relied
Upon By Plaintiffs To Show “Similarity” Are Not Protectable.

In their Further Response to Interrogatory No. 1, plaintiffs identified the items of
‘individual protectable expression’ in plaintiff’ s Format that you contend defendant Promofilm
copied as alleged in paragraph 47 of the Complaint” as follows:

(a) jewelry company infomercial-style advertising within the show as opposed to a

commercial,

(b) mother-in-law of the week is chosen by the public via text messaging and if mother-

in-law of the week names an “unprotected” bride candidate she gets eliminated,

(c) public chooses, by text message voting, their favorite bride candidate of the week and

she can eliminate a mother and her son,

(d) choice of contestants (non-celebrity, contestants likely to elicit tension), Turkish belly

dancing,

(e) on-air reading by candidates of messaged [sic] from viewers,

(f') exercise training visit to the house,

(g) Bride candidates live with mother-in-law,

(h) host is part of the show, throughout the season including prime-time shows.”

[Sep. St. No. 27]

Thus, plaintiffs’ claims to copyright infringement of protectable expression rest entirely
upon the protectability of these eight elements. However, none of these elements, which plaintiff
admits are “ideas”, is protectable expression and many are not included in plaintiffs’ Format or in
Suegras a_t a_ll.

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A Commercial.

Plaintiff’ s understanding of the term “infomercial style advertising” is that it “would stand

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for a program maybe 10 minutes or longer that would promote a specific product - to sell that
product.” There are no infomercials in Suegras. [Sep. St. No. 28] Contrary to plaintiff"s
interrogatory answer, Suegras was aired with traditional commercials shown during commercial
breaks. [Sep. St. No. 28] Accordingly, the claimed “protectable” idea, consisting of infomercials
in lieu of traditional commercials, is not present in Suegras. Thus, the first element cannot
support a claim of infringement Moreover, infomercial-style advertising and product placement
are not original protectable expression, in any event, because they dates back to the early game
shows of the ‘50s’ and ‘60s’ when they were used to promote the prizes given away on game
shows. lnfomercials have thus been a staple element of television for at least fifty years. [Sep. St.

No. 29]

b. lnclusion of a Mother-in-law Who May Eliminate a Candidate.

Both plaintiff" s Format and Suegras contain the element of a potential mother-in-law
participating in the show. This element is not protectable and Uckardesler admits that “he does
not have the right to preclude others from exhibiting television shows in which the contestants and
participants appear with their relatives.” [Sep. St. No. 30]

Nor is the inclusion of a potential mother-in-law in a television show original with either
the Format or Suegras. Mothers-in-law have played varying roles in both series television and
reality television for years prior to both the Format and Suegras. [Sep. St. No. 31]
Marriage/dating themed programs, in the reality genre, which predate the Format and include
potential mothers-in-law include “Outback Jack” and “The Bachelorette”. [Sep. St. No. 32]
Thus, the participation of a potential mother-in-law in this genre is not original protectable
expression, This element may not form part of the extrinsic comparison of the Format and
Suegras.

The element of having the viewing audience select a participant to “win,” receive a prize,
be eliminated, eliminate others or otherwise be singled out, has origins long ago in the “applause
meter” in “Queen for a Day,” the well known television show of the 1950s’. Other examples are
myriad. Examples of reality elimination television shows employing text voting are also myriad.

Moreover, plaintiff has admitted that text voting is not protectable. [Sep. St. No. 33]

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Similarly, the element of a participant in an elimination show being “protected” from
elimination is not unique to the Format or Suegras. Plaintiff admits that he was not the creator of

“protection” for a contestant, and that his Format was not the first to include that concept. [Sep.

St. No. 34]
c. Public Chooses a Favorite Bride Candidate Who May Eliminate A Mother and
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This element is n_ot present in Suegras. In Suegras, by week seven of the show, “couples”
are established such that there is a connection between each of the remaining 6 bride candidates
and one of the 6 groom candidates. From the seventh week of Suegras on, when a bride candidate
is eliminated (by the other bride candidates or a mother-in-law), the paired groom (and groom’s
mother) are automatically eliminated with her. There is no mechanism in Suegras for direct
elimination of groom candidates, as in the Format, Nor is there, in the Format, a mechanism for
elimination of bride, groom and groom’s mother “as a unit.” [Sep. St. No. 35] Thus, although
plaintiff claims that this element is evidence of “substantial similarity,” in fact it is Strong
evidence of the dissimilarity between the Format and Suegras. However, such elimination
schemes are not, in any event, protectable - they are standard elements of the elimination genre.

d. Choice of Contestants Non-Celebrit Contestants Likel to Elicit Tension

Turkish Belly Dancing.

Producers of television programming have traditionally selected the contestants and
participants whom they believe are “likely to elicit tension.” Plaintiffs admit that the Selection of
participants who will agitate one another and create tension is not protectable. [Sep. St. No. 36]

There is no reference to Turkish belly dancing in the Format. Nor is Turkish belly
dancing an activity which plaintiffs alone may depict on television, even if the Format referred to
that form of dancing. Various forms of erotic dancing have always been included as an activity in
marriage-themed elimination shows because dancing exhibits the sexuality and attractiveness of
the female candidates. [Sep. St. No. 37] Plaintiff Uckardesler admits that he does not have “the
right to preclude anyone from including all kinds of dancing in a television show.” [Sep. St. No.

38] Thus, this element, too, may not be used in the extrinsic test to determine substantial

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similarity.

e. On Air Readings by Candidates of Messaged |sic| From Viewers.

In Suegras, this element was n_ot present. There were no on-air readings by participants of
messages from the viewers. [Sep. St. No. 39] Nor is this stock element original or protectable in
any case.

f. Exercise Training Visit to House.

Suegras, like the many similar marriage/dating-themed elimination shows, did have
exercise training as one of the many activities the candidates engaged in. Like dancing or
swimming, this is an activity traditionally used in this genre because it reveals the men’s and
women’s bodies and is a scene a faire in the genre. [Sep. St. No. 40] Plaintiff correctly admits
that he does not have the right to preclude anyone from “depicting physical training or workout.”
[Sep. St. No. 41] Thus, this element may not be used for comparing under the extrinsic test.

g. Bride Candidates Live With Mother-In-Law.

Although, in the Format and Suegras, the brides live with the mothers in law, the living
arrangements described in the Format and in Suegras are different. The Format required
separation of the participants in the show from each other with the mothers-in-law and brides
living separately from the groom candidates. In the Format, 6 bride contestants “...are taken to an
isolated secondary section of the house where the sons can watch them on video when they are
entering the house. At last, the mother contestants and the prospective bride contestants are by
themselves And unfortunately the prospective groom contestants have to be audience to the

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events for a while. Thus, the men are not in direct communication with the women, although

they can sometimes address them. In contrast, in Suegras, the existence of the Common Area
and the non-exclusivity of the Masculine and Feminine Areas reflect the different focus of
Suegras which intends that “the single women and men will experience in accelerated speed what
in their ordinary lives will take several years of initiatives and reversals, successful decisions,
mistakes, infatuations, cheating and disappointments.” [Sep. St. No. 42] Uckardesler also admits
that he does not have “the right to prevent anyone from putting on a television show on which the

participants or contestants are compelled to live in one house.” [Sep. St. Nol 43] Such

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compelled confinement to a limited area is an unprotectable stock element of the reality television
genre because it is frequently used to enhance tension and conflict and reduce the expense and
practical difficulty of following and taping the participants [Sep. St. No. 44]

h. Host Is Part of the Show Throughout the Season Including Prime Time Shows.

The Format makes no reference to a host at all or to the role to be performed by a host,
although the subsequent Bible does refer to a “Presenter.” Suegras did have a hostess who
performed the traditional and important function of a television host. However, as a matter of
1a_w, a host is not protectable. Zella v. E.W. Scrir)r)s Co., 529 F.Supp.2d 1124, 1134, 1137 (C.D.
Cal. 2007). lt is a stock, scene a faire of the genre. [Sep. St. No. 45]

The host allows viewers, who have missed shows or who are coming to the program after
it has begun, to receive summaries and recaps in order to be brought up to date on past events. In
this way, the show will not lose audience members who, for any reason, missed shows or failed to
begin watching the show during its first week. The host also performs the important function of
provoking conflict, eliciting drama, and various other dramatic functions commonly performed by
hosts on television, Hosts have been a part of television since its invention in the 40's and are a
regular part of the reality genre, [Sep. St. 45]

3. Manv of the Allegedlv Protectable Program Elements Claimed bv Plaintiffs Were
Not Original With Plaintiff but were instead Included in the Predecessor Prog;am
Series of Marriage Themed Realitv Shows.

The extrinsic test compares only protectable expression, Therefore, those elements
included in the Predecessor Programs produced by Sinevizyon, and therefore not original with
plaintiff, must be excluded in conducting an extrinsic comparison between the Format and
Suegras.

However, almost all of the items of allegedly protectable expression, identified in Further
Response to Interrogatory No. 1, had already been featured in the Predecessor Programs produced
by Sinevizyon, including: candidate eliminations by viewer text voting; the host participating in
each show, conducting interviews with the candidates, eliciting confessions, provoking

controversy and reading comments from viewers; the contestants are non-celebrities; the

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participants engaged in activities - sports, dancing, exercise, etc.; protection, against elimination
and the participants were selected to present certain dramatic “types” and to create conflict [Sep.
St. No. 46]

With respect to the elements that plaintiff "borrowed" from the Predecessor Programs
produced by Sinevizyon, plaintiff cannot claim copyright protection for the fundamental reason
that these elements were not original with him (or with the Predecessor Programs). As the Supreme

Court has held, "the sine qua non of copyright is originality." Feist Publications. Inc. v. Rural Tel.

 

Serv. Co. Inc., 499 U.S. 340, 345, 111 S. Ct. 1282, 1287, 113 L. Ed. 2d 358 (1991).

These prior, non-original and, by definition, non-protectable elements cannot form part of
the extrinsic analysis for this additional reason.

4. Plaintiffs Cannot Satisfv The Elements Of The Extrinsic Test For “Substantial

Similarity”.

Application of the extrinsic test to protectable elements, if any, in plaintiffs’ Format
establishes a lack of the “concrete “ and “‘articulable similarities between the plot, themes,
dialogue, mood, setting, pace, characters, and sequence of events’ in the two works’ (citation)”
[Funky Films, Inc. V. T ime Wamer Entertainment Company, L.P., 462 F.3d 1072, 1077 (9‘h Cir.
2006)], necessary to avoid summary judgment Moreover, even some similarity of protectable
elements is not sufficient - significant use of such elements must be present:

“For an unauthorized use of a copyrighted work to be actionable, the use must be

significant enough to constitute infringement See Ringgold v. Black Entertainment

I_Y, 126 F.3d 70, 74-75 (2d Cir. 1997). This means that even where the fact of

copying is conceded, no legal consequences will follow from that fact unless the

copying is substantial. [citation] The principle that trivial copying does not

constitute actionable infringement has long been a part of copyright law. Indeed, as

Judge Learned Hand observed over 80 years ago: “Even where there is some

copying, that fact is not conclusive of infringement Some copying is permitted. In

addition to copying, it must be shown that this has been done to an unfair extent.”
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West Publ'g Co. v. Edward Thompson Co., 169 F. 83 3, 861 (E.D.N.Y. 1909).”

Newton v. Diamond, 388 F.3d 1189 (9th Cir., 2003) cert denied 545 U.S. 1114;

125 S. Ct. 2905 ; 162 L. Ed. 2d 294 (2005).

With respect to “plot,” as was true in Milano v. NBC Universal. Inc., the Format
“describes no plot as that term is normally used. Rather, it outlines a contest structure which...is not
original and therefore not protectable. The plot..(as in all reality programming) essentially
developed extemporaneously as the viewer observes what happens when the contestants live out
the experience in front of omnipresent cameras.” 584 F. Supp. 2d at 1297. This is not a protectable
“plot,” if indeed it is a “plot” at all. Suegras, by comparison, has predetermined plot elements
derived from traditional Spanish language telenovelas as noted above at page 6. [Sep. St. No. 47]

As to “dialogue”, the Format is an “unscripted” reality program and so this element “is not
relevant to reality programming,” Milano v. NBC Universal. Inc., 584 F. Supp. 2d at 1297, at all by
definition. [Sep. St. No. 48]

As to “character”, the Format calls for “casting” contestants with a variety of attributes -
passive, aggressive, intellectual, modern, beautiful, gentle, sweet macho , etc. - which are entirely
cliched, stock and derivative and hence not protectable. [Sep. St. No. 49] Further, as noted above
at 6, the “role” of the mother-in-law is central to the Format in a way that is not true in Suegras.

As to “theme,” plaintiff Uckardesler described it as “the relationship between the mother,
son and the bride-to-be and it analyzes that complex relationship in its complexity” [Sep. St. No.
50] , an unprotectable, universal idea if ever there was one.

As to “pace,” all that can be derived from the Format or Bible is that the program would be
broadcast in daily installments over several weeks, once again, part and parcel of generic television
program scheduling and surely not protectable. [Sep. St. No. 51]

As to “mood,” even assuming a written document can have a “mood,” plaintiff has claimed
only that “the mood of my format is entertaining, also ~ it’s tragic” [Sep. St. No. 52] which again is
manifestly insufficient to secure protection.

As to “setting,” isolating the competitors in an enclosed environment is a well-established

staple of reality television and any similarities arising therefrom are “commonplace “ and not
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protectable. Milano v. NBC Universal. Inc., 554 F. Supp. 2d at 1297. [ Sep. St. No. 53].
Furthermore, the living arrangements among the prospective bride, groom and mother in law
contestants are different in the Format and Suegras, as described above at page 15 .

Finally, as to the “sequence of events”, the Format describes little more than an
introduction/interview/discussion/personal interaction process by which the original contestants are
winnowed down and successively eliminated, As plaintiffs Format itself stated it was a “classical
elimination process,” an express admission that it is a “stock element” of the reality genre. [ Sep.
St. No. 54]

In reality, elimination shows portraying dating and a forced living environment scenes
occur in a logical order due to the demands of building suspense in an elimination show that is
“stripped” (i.e. broadcast at least five days a week in the same time slot each weekday, often with a
summary show on the weekend, as was true with respect to Suegras). All reality television
programs that culminate in prize winner(s) and a celebratory event will follow a substantially
similar and common-place selection, order, and arrangement of scenes. Many of these will be
repeated throughout the show, either with different contestants, or with different challenges, or
before different panels of judges or competitors. [Sep. St. No. 55]

By comparison, Suegras features a detailed competition/elimination structure, for which
there is no counterpart in plaintiff"s sketchy and “conceptual” Format ln Suegras the
dating/marriage competition is organized around a concrete, sequential series of weekly
“challenges” that will determine the outcome of the competition: a women’s challenge each week,
judged by a jury of the mothers in law, which yields a Winner who can choose a suitor to date
subject to mother in law veto', a men’s challenge each week, judged by a jury of the Women, Which
yields a winner who can choose one of the women for a date. The women vote among themselves
to eliminate one of their group; a mother in law of the week is chosen by the viewers Who can then
eliminate one of the women; the winners of the men’s challenge can ask a woman who has been
eliminated on a date and thereby preventing her elimination, etc. and so on. [Sep. St. No. 56]
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competition in Suegras is similar to the Format at all.
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PROMOFILM’S MEMO OF Ps&As lN SUPPORT OF MOT. FOR SUMMARY JUDGMENT

 

 

Case 2

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5. Plaintiffs’ Format And Bible Do Not Present A Protectable Arrangement Or
Combination Of Elements.

Finally, plaintiffs have asserted a claim for copyright protection for their arrangement of
elements. ln their Further Response to Interrogatory No. 4, plaintiffs contended that “...plaintiffs
Selected, arranged and combined the Turkish cultural process by which mothers choose brides for
their sons, paired it with a voyeuristic dating concept, added merchandise advertising by the show’s
host, provided a unique elimination concept and caused Such expression to be broadcast first in the
country of Turkey.” [Sep. St. No. 57] As stated in their Further Response to Interrogatory No. 2,
“plaintiff maintains that the manner by which non-protectable expressions are arranged may create
protectable expression. “...For purposes of facilitating discovery, plaintiff respond as follows:
Some non-protectable elements include, but are not limited to (a) text voting, (b) wedding
ceremony, (c) candidate confessions, (d) candidates agitating one another, (e) conflicts between
contestants, (f) choice of wedding gowns, (g) proposals, (h) serial elimination of contestants, (i)
modern house setting, (j) romantic dating scenes, (k) slim, brunette renowned model host, (l)
mothers, bride candidates and groom candidates live in separate rooms within one house, mothers
and sons are interviewed together during casting process. [Sep. St. No. 58]

This response does n_ot describe the requisite gigin_al ordering, arrangement or
combination - it is a list of unprotectable elements. The test for copyright protection for an
arrangement or combination of unprotectable elements is stated in Satava v. Lowry, 323 F.3d s_up@
at 811:

“Our case law suggests, and we hold today, that a combination of unprotectable

elements is eligible for copyright protection only if those elements are numerous

enough and their selection and arrangement original enough that their combination

constitutes an original work of authorship. See M, 294 F.3d at 1074; Appl_e

Computer, Inc., 35 F.3d at 1446. See also Fe_ist, 499 U.S. at 358 (“[T]he principal

focus should be on whether the selection, coordination, and arrangement are

sufficiently original to merit protection.”).”

Plaintiff s contended for, copyright protection for this “arrangement, sequencing and
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PROMOFILM’S MEMO OF Ps&As IN SUPPORT OF MOT. FOR SUMMARY JUDGMENT

 

 

Case 2:

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combination” is insufficient under _SLtU. First, in plaintiffs’ interrogatory responses go
arrangement or sequencing is presented at all, less an original one. [Sep. St. No. 59] Second,
plaintiff Uckardesler has admitted that he did not “arrange the elements that already existed in
other shows in any new way” [ Sep. St. No. 60] and, as shown above, the elements of the Format
had been previously present in many prior shows including the Predecessor Programs.2 Third, in
any event, the combination of these unprotectable ideas and elements is “standard, stock and
common,” and therefore not protectable. In surn, plaintiffs cannot claim a protectable arrangement
of elements to salvage an otherwise insufficient infringement claim based upon unprotectable
elements that cannot satisfy the extrinsic test

6. The Second Claim For Relief ls Sirnilarly Subject To Summary Judgpgent

In addition to the First Claim for Relief for Copyright Infringement, plaintiffs allege a
second Claim for Relief for Contributory Copyright Infringement, incorporating all of the
allegations of the First Claim. The Second Claim for Relief then alleges that by, entering into the
Program License Agreement with defendant Azteca , and producing Suegras for broadcast by
Azteca, defendant Promofilm induced defendant Azteca to infringe plaintiffs’ copyright in the
Format Compl. Second Claim for Relief, ‘11‘11 51 -62. [Sep. St. No. 62] The claim of contributory
infringement is, therefore, entirely dependent on the sufficiency of the First Claim for Relief for
Copyright Infringement For the reasons stated herein, the First Claim for Relief is subject to

summary judgment and the Second Claim for Relief necessarily is as well.

 

2As Professor Seiter demonstrates, in the reality marriage/dating themed, elimination
genre there is little or no opportunity to arrange or sequence elements in an original way due to
the requirements of the genre and the television medium. [Sep. St. No. 61]
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PROMOFILM’S MEMO OF PS&AS lN SUPPORT OF MOT. FOR SUMMARY JUDGMENT

 

 

Case 2

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V.
CONCLUSION

For the foregoing reasons the First and Second Claims for Relief present no genuine issue
of material fact for trial. Summary Judgment in favor of Promofilm should be granted. These are
the only two claims asserted against Promofilm in the complaint and grant of this motion entirely
resolves the matters at issue between plaintiffs and Promofilm. Accordingly, there is no just
reason to delay entry of a final judgment in favor of Promofilm.

Respectfully submitted,

Dated: Marchl'@,l 2010 DONIGER & FETTER

By. l/»\'

l'lenry D. Fetter
Attorneys for
Defendant Promofilm US LLC

 

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PROMOFILM’S MEMO OF PS&AS IN SUPPORT OF MOT. FOR SUMMARY JUDGMENT

 

 

